
*882LUCERO, J.,
dissenting.
The “Indian right of occupancy of tribal lands, whether declared in a treaty or otherwise created, has been stated to be sacred.” Lone Wolf v. Hitchcock, 187 U.S. 553, 564, 23 S.Ct. 216, 47 L.Ed. 299 (1903). Our respect for this right stems, or should stem, from Tribes’ status as “separate sovereigns pre-existing the Constitution.” Santa Clara Pueblo v. Martinez, 436 U.S. 49, 56, 98 S.Ct. 1670, 56 L.Ed.2d 106 (1978). Although Congress possesses the unilateral authority to diminish the reservations of these sovereign nations, Solem v. Bartlett, 465 U.S. 463, 470 n.11, 104 S.Ct. 1161, 79 L.Ed.2d 443 (1984) (citing Lone Wolf, 187 U.S. 553, 23 S.Ct. 216, 47 L.Ed. 299), we must not lightly assume that Congress has exercised this destabilizing power. Only when express statutory language, legislative history, and surrounding circumstances “point unmistakably to the conclusion that” a reservation was diminished should we read a statute as having that effect. DeCoteau v. Dist. Cty. Ct. for Tenth Jud. Dist., 420 U.S. 425, 445, 95 S.Ct. 1082, 43 L.Ed.2d 300 (1975).
In 1905, Congress passed an act transferring certain lands in the Wind River Reservation to the United States. The federal government was to act as trustee by selling the lands and paying the Indians the proceeds. Act of March 3, 1905, 33 Stat. 1016 (the “1905 Act” or the “Act”). From this placement of property into trust status in exchange for a conditional promise of payment, my colleagues in the majority infer clear congressional intent to diminish the Wind River Reservation. I cannot agree. By deriving an intent to diminish absent sum-certain payment or statutory language restoring lands to the public domain, the majority opinion creates a new low-water mark in diminishment jurisprudence. Applying the three-step analysis from Solem, 465 U.S. at 470-71, 104 S.Ct. 1161, I would hold that the 1905 Act did not diminish Reservation boundaries. Accordingly, I respectfully dissent.
I
Our diminishment analysis begins with the statutory text. The Court has stated that “language evidencing the present and total surrender of all tribal interests,” when coupled with an “unconditional commitment from Congress to compensate the Indian tribe for its opened land,” creates a presumption of diminishment. Solem, 465 U.S. at 470-71, 104 S.Ct. 1161; see also DeCoteau, 420 U.S. at 445-49, 95 S.Ct. 1082 (finding diminishment based on language of cession and sum-certain payment). The 1905 Act states that the Indians “cede, grant, and relinquish to the United States, all right, title, and interest” to certain lands “within the said reservation.” 33 Stat. at 1016. But the United States did not agree to pay a sum certain. Instead, the Act provides that “the United States shall act as trustee for said Indians to dispose of said lands and to expend for said Indians and pay over to them the proceeds received from the sale thereof only as received, as herein provided.” Id. at 1021 (emphasis added). Moreover, the Act states that “nothing in this agreement contained shall in any manner bind the United States to purchase any portion of the lands herein described or to dispose of said lands except as provided herein, or to guarantee to find purchasers for said lands.” Id. at 1020. Citing the Act’s designation of a portion of the sale proceeds for per capita payments, the majority adopts the euphemism “hybrid payment scheme.” (Majority Op. 872-73.) However, the terms of the statute unambiguously reflect a conditional promise to pay.
Because the 1905 Act lacked sum-certain payment, the majority opinion’s reliance on sum-certain cases is misplaced. It re*883peatedly asserts that the language of the 1905 Act, like the statutory language in DeCoteau, is “precisely suited” to dimin-ishment. (See, e.g., Majority Op. 870 (citing DeCoteau, 420 U.S. at 445, 95 S.Ct. 1082).) But when the Court in DeCoteau made that observation, it was comparing the statutory language of an 1889 agreement to “that used in the other sum-certain, cession agreements” ratified in the same act. 420 U.S. at 446, 95 S.Ct. 1082 (emphasis added). The DeCoteau Court distinguished both Seymour v. Superintendent, 368 U.S. 351, 82 S.Ct. 424, 7 L.Ed.2d 346 (1962), and Mattz v. Arnett, 412 U.S. 481, 93 S.Ct. 2245, 37 L.Ed.2d 92 (1973), in part, on the ground that the acts at issue in those cases conditioned payment to the tribes on the “uncertain future proceeds of settler purchases” — precisely the situation presented here. DeCoteau, 420 U.S. at 448, 95 S.Ct. 1082. In contrast, the 1891 act in DeCoteau “appropriately] and vestfed] in the tribe a sum certain.” Id.
The 1905 Act differs from legislation deemed to have diminished reservations in another important respect: It did not restore the lands at issue to the public domain. Cf. id. at 446, 95 S.Ct. 1082 (citing legislators’ statements that “ratified agreements would return the ceded lands to the ‘public domain’ ” to support claim that agreements unquestionably diminished reservations). Because the lands at issue here were held in trust under the Act, they remained Indian lands. In Ash Sheep Co. v. United States, 252 U.S. 159, 40 S.Ct. 241, 64 L.Ed. 507 (1920), the Tribe “ceded, granted, and relinquished to the United. States all of their right, title and interest.” Id. at 164, 40 S.Ct. 241 (quotations omitted). However, the government did not provide unconditional payment, promising only to give the Indians the future proceeds of any land sales. Id. at 164-65, 40 S.Ct. 241. And, in language nearly identical to the 1905 Act, the statute stated that the United States tvas not bound to purchase or sell the affected lands but rather to “act as trustee” in their disposal. Id. at 165-66, 40 S.Ct. 241. The Court determined, based on this language, that although the Indians had “released their possessory right to the government,” the lands remained “Indian lands” because any benefits derived therefrom would belong to the Indians as beneficiaries and not the government as trustee until the lands were sold. Id. at 166, 40 S.Ct. 241.1
Admittedly, the retention of a beneficial interest is not dispositive of reservation status. See Rosebud Sioux Tribe v. Kneip, 430 U.S. 584, 601 n.24, 97 S.Ct. 1361, 51 L.Ed.2d 660 (1977). But the majority too easily dismisses the trust status of the lands at issue. (See Majority Op. at 873-74.) “The notion that reservation status of Indian lands might not be coextensive with tribal ownership was unfamiliar at the turn of the century.” Solem, 465 U.S. at 468, 104 S.Ct. 1161. Accordingly, although it is not determinative, Congress’ decision not to restore these lands to the public domain cuts strongly against the majority’s conclusion that the Reservation was diminished.
Given the absence of sum-certain payment or restoration of lands to the public domain, we could easily interpret the language of cession contained in the 1905 Act as merely opening portions of the Wind *884River Reservation to settlement.2 In assessing statutory language nearly identical to the 1905 Act, the Eighth Circuit concluded that the Devils Lake Indian Reservation had not been diminished. United States v. Grey Bear, 828 F.2d 1286 (8th Cir.), vacated in part on other grounds on reh’g en banc, 836 F.2d 1088 (8th Cir. 1987). Specifically, the court held that although the language “do hereby cede, surrender, grant, and convey to the United States all their claim, right, title, and interest” was suggestive of diminishment, id at 1290 (emphasis omitted) (quoting Act of April 27, 1904, ch. 1620, 33 Stat. 321-22), it did not “evince a clear congressional intent to disestablish the Devils Lake Reservation” absent an “unconditional commitment” by Congress to pay for the ceded lands, id
The majority attempts to distinguish Grey Bear, noting that the legislative history of the act at issue there was not extensive and that subsequent treatment of the area weighed against a finding of diminishment. (Majority Op. 871 n.6.) But the majority does not appear to rest its holding in this case on the second and third steps of the Solem analysis. Instead, it claims that the “express language of cession in the 1905 Act indicates Congress intended to diminish the boundaries of the Wind River Reservation.” (Id. at 22.) The majority thus reaches a conclusion squarely opposite to one of our sibling circuits, creating a needless circuit split.
The Supreme Court has counseled that “[w]hen we are faced with ... two possible constructions, our choice between them must be dictated by a principle deeply rooted in this Court’s Indian' jurisprudence: Statutes are to be construed liberally in favor of the Indians, with ambiguous provisions interpreted to their benefit.” Cty. of Yakima v. Confederated Tribes &amp; Bands of Yakima Indian Nation, 502 U.S. 251, 269, 112 S.Ct. 683, 116 L.Ed.2d 687 (1992) (quotation and alteration omitted). Adhering to that principle in this case, we must read the 1905 Act as providing for sale and opening of lands rather than diminishment.
II
In very limited circumstances, courts have been willing to find diminishment even absent “explicit language of cession and unconditional compensation.” Solem, 465 U.S. at 471, 104 S.Ct. 1161. But that is true only if surrounding circumstances “unequivocally reveal a widely-held, contemporaneous understanding that the affected reservation would shrink as a result of the proposed legislation.” Id. A “few phrases scattered through the legislative history” are insufficient to manufacture clear congressional intent to diminish if a plain statement of that objective is lacking in the statutory text. Id at 478, 104 S.Ct. 1161.
Legislative history surrounding two ancillary portions of the 1905 Act counsel *885against an intent to diminish. First, Congress chose to omit a school lands provision from the 1905 Act, demonstrating its view that the opened lands retained their Reservation status. A precursor bill, presented to Congress in 1904, initially provided that the United States would pay $1.25 per acre for sections 16 and 36, or equivalent lands, in the opened townships. 38 Cong. Rec. H5247 (1904). This provision mirrored the Wyoming Enabling Act, which grants sections 16 and 36 of each township to the state for school purposes unless those lands are sold or disposed of, in which case the state may take other lands in lieu. Wyoming Enabling Act, ch. 664, § 4, 26 Stat. 222, 222-23 (1890). During debate on the 1904 bill, Representative Mondell proposed to strike the school lands provision. 38 Cong. Rec. H5247. He explained that although “the bill originally provided thát the State should take lands on the reservation” for the price of $1.25 per acre, eliminating the school lands provision would “leav[e] the State authorized under the enabling act to take lieu lands.” Id. (statement of Rep. Mondell) (emphasis added). Both Mondell’s statement and the decision to omit the provision evince the belief that sections 16 and 36 would remain part of the Reservation. The House Committee on Indian Affairs later reported that it had adhered to this policy in drafting the bill that would ultimately, become the 1905 Act. See H.R. Rep. No. 58-3700, pt. 1, at 7 (1905) (stating that it had been “deemed wise by the committee to adhere to the policy laid down in the former bill and agreement,” under which there was no school lands provision and “Indians [were] to receive the same rates from settlers for sections 16 and 36 as paid for other lands”).3
Conversely, if a school lands provision is included in a statute, the Supreme Court has been more apt to find congressional intent to diminish. In Rosebud, for example, the Court held that the inclusion of a similar school lands provision evinced “congressional intent to disestablish Gregory County from the Rosebud Reservation, thereby making the sections available for disposition to the State of South Dakota for school sections.” 430 U.S. at 601, 97 S.Ct. 1361 (quotation omitted); see also South Dakota v. Yankton Sioux Tribe, 522 U.S. 329, 349-50, 118 S.Ct. 789, 139 L.Ed.2d 773 (1998) (inclusion of school lands provision indicative of intent to diminish).4 The majority notes that the State of Wyoming may have received federal land elsewhere as a result of Congress’ *886decision to omit the school lands provision. (Majority Op. 878 n.13.) But that is exactly the point. By striking the provision, Congress recognized that Wyoming could take lieu lands elsewhere, rather than pay $1.25 for “lands on the reservation.” 38 Cong. Rec. H5247 (statement of Rep. Mondell) (emphasis added); see also 26 Stat. at 222-23.
Also weighing against a finding of dimin-ishment is a provision granting Asmus Boysen a preferential right to lease new lands “in said reservation” in lieu of his existing lease rights. 33 Stat. at 1020. The provision was opposed by a minority in the House of Representatives, who argued that Boysen should not be granted preferential rights because his lease would terminate upon passage of the Act, and because “other persons desiring to enter and settle upon the lands to be opened” should stand on equal footing. H.R. Rep. No. 58-3700, pt. 2, at 2, 3 (emphasis added). By describing the “lands to be opened” as being “in said reservation,” 33 Stat. at 1020, the 1905 Act demonstrates Congress’ understanding that the opened areas would retain their reservation status.5
The majority relies on a prior history of negotiations to conclude that the 1905 Act resulted in diminishment, citing Rosebud for the proposition that implied continuity in purpose from a prior agreement is informative. (See Majority Op. 877-78 (citing Rosebud, 430 U.S. at 590-92, 97 S.Ct. 1361); see also id. at 870 n.2.) But the negotiation history presented here differs markedly from that considered by the Court in Rosebud. In Rosebud, the Rosebud Sioux Tribe reached an agreement with the United States to diminish reservation boundaries in 1901. 430 U.S. at 587, 97 S.Ct. 1361. Although Congress failed to ratify the agreement, the Court concluded that the agreement’s purpose was carried out in subsequent acts passed in 1904, 1907, and 1910. Id. at 587-88, 592, 97 S.Ct. 1361.
There were several factors in Rosebud that are not present in this case. Notably, a mere three years passed between the 1901 agreement and the 1904 act in Rosebud. It should be unsurprising that congressional intent remained static for such a brief period. Here, my colleagues rely extensively on a proposed agreement from 1891, nearly a generation prior to passage of the 1905 Act. (See Majority Op. 874-75, 877-78.)
Further, in Rosebud the reason Congress failed to ratify the prior agreement “was not jurisdiction, title, or boundaries” but “simply put, money.” 430 U.S. at 591 n.10, 97 S.Ct. 1361 (quotation omitted). The 1904 act was essentially identical to the 1901 agreement other than the form of payment. Id. at 594-97, 97 S.Ct. 1361. In contrast, the government and Tribes in this case were unable to reach an agreement as to the particular lands to be *887opened in either 1891 or 1893. In 1891, certain members of Congress called for the opening of more lands than what was provided for in the proposed agreement. H.R. Doc. No. 52-70, at 7-8 (1892). And the Tribes rejected three separate counteroffers in 1893, indicating they did not wish to sell the lands under discussion. H.R. Doc. No. 53-51 (1894). Thus, unlike the three-year delay in Rosebud from an agreement that went unratified because of concerns over the manner of payment, we are presented with a fourteen-year halt following negotiations that failed because the parties could not agree on material terms.
Not only did a significant period of time elapse between the 1891 negotiations and the 1905 Act in this case, but any continuity of purpose was also disrupted by intervening agreements regarding cession of other portions of the Reservation. In 1896, for example, Inspector McLaughlin successfully negotiated the Thermopolis Purchase Act, under which the Tribes ceded the Big Horn Hot Springs to the United States in exchange for a sum-certain payment of $60,000. Act of June 7, 1897, 30 Stat. 62, 93-94. At a council meeting in 1922, McLaughlin expressly distinguished the agreements underlying the 1897 and 1905 Acts, stating that they were “entirely distinct and separate” and that under the 1905 Act, “the government simply acted as trustee for disposal of the land north of the Big Wind River.”
The absence of a continuity of purpose to diminish the Reservation is further evidenced by the negotiations preceding passage of the 1905 Act. In his 1903 negotiations with the Rosebud Tribe, McLaughlin stated that he was there “to enter into an agreement which is similar to that of two years ago, except as to the manner of payment.” Rosebud, 430 U.S. at 593, 97 S.Ct. 1361. In this' case, McLaughlin did not tell the Tribes in 1904 that he sought to reopen the 1891 or 1893 negotiations. And although the majority quotes McLaughlin’s use of the word “cede,” (Majority Op. 875-76), he used that term interchangeably with the concept of “opening ... certain portions of [the] reservation for settlement by the whites.” Similarly, any references to a diminished reservation “may well have been referring to diminishment in common lands and not diminishment of reservation boundaries.” Solem, 465 U.S. at 475 &amp; n.17, 104 S.Ct. 1161.
Looking to the totality of the circumstances surrounding the 1905 Act, it cannot be said that they “unequivocally reveal a widely-held, contemporaneous understanding that the affected reservation would shrink as a result of the proposed legislation.” Solem, 465 U.S. at 471, 104 S.Ct. 1161 (emphasis added). At best, the historical record is mixed regarding Congress’ intent. As such, it is insufficient to overcome ambiguity in the statutory text.
Ill
At the third step of the Solem analysis, we consider “[t]o a lesser extent ... events that occurred after the passage of a surplus land act to decipher Congress’s intentions.” Solem, 465 U.S. at 471, 104 S.Ct. 1161. But this third prong comes into play only at the margins.6 If “an act and its *888legislative history fail to provide substantial and compelling evidence of a congressional intention to diminish Indian lands, we are bound by our traditional solicitude for the Indian tribes to rule that diminishment did not take place and that the old reservation boundaries survived the opening.” Solem, 465 U.S. at 472, 104 S.Ct. 1161.
Because the statutory text and legislative history in this case fail to provide compelling evidence of congressional intent to diminish, we need not consider this third prong. Even if we did, however, I agree with the majority that the post-Act record is so muddled it does not provide evidence of clear congressional intent. (Majority Op. 879.)7 But, as with the first two steps in the analysis, this lack of clarity must not be treated as a neutral element. Because we apply a “presumption that Congress did not intend to diminish,” Solem, 465 U.S. at 481, 104 S.Ct. 1161, proponents of diminishment must show that “non-Indian settlers flooded into the opened portion of a reservation and the area has long since lost its Indian character,” id. at 471, 104 S.Ct. 1161. The appellants have not met this burden.
Land sales in the opened area were largely a failure. By 1915, less than 10% of the land had been sold to non-Indians, prompting the Department of the Interior (“DOI”) to indefinitely postpone further sales. Less than 15% of the opened area was ultimately transferred to non-Indians. Cf. Yankton Sioux Tribe, 522 U.S. at 339, 118 S.Ct. 789 (noting that approximately 90% of unallotted tracts were settled in that case); Rosebud, 430 U.S. at 605, 97 S.Ct. 1361 (same). The DOI continued to allot parcels in the opened lands to Tribal members, and in 1939, Congress restored tribal ownership over the unsold land. Act of July 27, 1939, ch. 387, 53 Stat. 1128. Today, approximately 75% of the lands opened for settlement by the 1905 Act is held in trust by the United States for the benefit of the Tribes and their members.
Despite the sometimes conflicting treatment of the area by non-Indian authorities, (see Majority Op. 879-881), there can be little doubt that most of the opened area retains its Indian character. Accordingly, we face no risk of upsetting “justifiable expectations,” Rosebud, 430 U.S. at 605, 97 S.Ct. 1361, by construing the 1905 Act as maintaining Reservation boundaries.
IV
We consider in this case an Act that began with Inspector McLaughlin’s warning to the Tribes that “Congress had the right to legislate for the opening of Indian reservations without consulting the Indians or obtaining their consent.” Recognizing that Congress possesses the nearly unfettered power to impose its will, leaving *889the Tribes “no choice but to consent,” the Court has held that “any doubtful expressions in [legislation] should be resolved in the Indians’ favor.” Choctaw Nation v. Oklahoma, 397 U.S. 620, 631, 90 S.Ct. 1328, 25 L.Ed.2d 615 (1970). This rule must be given “the broadest possible scope” in the diminishment context. DeCoteau, 420 U.S. at 447, 95 S.Ct. 1082. In interpreting the 1905 Act, we must bear in mind the government’s “moral obligations of the highest responsibility and trust, obligations to the fulfillment of which the national honor has been committed.” United States v. Jicarilla Apache Nation, 564 U.S. 162, 176, 131 S.Ct. 2313, 180 L.Ed.2d 187 (2011) (citation and quotations omitted). With this heavy thumb on the scale, I would hold that the 1905 Act did not diminish the Wind River Reservation. I respectfully dissent.

. The majority states that Ash Sheep is seldom cited in more recent diminishment cases because it addresses the different issue of whether lands became "public lands.” (Majority Op. 873-74.) But in DeCoteau, a case ■upon which the majority relies, the Court cites Ash Sheep in distinguishing Mattz based on the absence of sum-certain payment. See DeCoteau, 420 U.S. at 448, 95 S.Ct. 1082.


. As in Solem, the 1905 Act provides that Indians who held an allotment within the opened territory would be permitted to obtain a new allotment in the unopened area, referring to the latter as the “diminished reserve.” 33 Stat. at 1016; Solem, 465 U.S. at 474, 104 S.Ct. 1161 (describing unopened areas as "reservations thus diminished”). But the Supreme Court explained that this phrase "cannot carry the burden of establishing an express congressional purpose to diminish” because at the time of the Act, " ‘diminished’ was not yet a term of art in Indian law.” Solem, 465 U.S. at 475 &amp; n.17, 104 S.Ct. 1161. Thus, Congress "may well have been referring to diminishment in common lands and not diminishment of reservation boundaries.” Id. Similarly, references to a reservation "in the past tense” should not "be read as a clear indication of congressional purpose to terminate.” Mattz, 412 U.S. at 498-99, 93 S.Ct. 2245.


. Although the Wyoming Enabling Act did not exempt reservations from the grant of sections 16 and 36 to the state for school purposes, the Wyoming Constitution disclaims “all right and title to ... all lands lying within said limits owned or held by any Indian or Indian tribes.” Wyo. Const, art. XXI, § 26. Because "Congress is presumed to act with knowledge of controlling constitutional limitations” when it enacts new statutes, Golan v. Gonzales, 501 F.3d 1179, 1183 (10th Cir. 2007), the decision to omit the school lands provision is further evidence Congress believed the opened lands to retain their reservation status.


. In contrast to the Wyoming Enabling Act, the statute admitting North and South Dakota into the Union expressly provided that sec.tions 16 and 36 "embraced in permanent reservations” would not "be subject to the grants ... of [the] act.” Act of February 22, 1889, 25 Stat. 676, 679. However, as discussed in n.3, supra, the Wyoming Constitution served a similar function by disclaiming "all right and title” to lands held by Indian Tribes. Wyo. Const, art XXI, § 26. Accordingly, even if the grant of sections 16 and 36 on the Wind River Reservation was not expressly prohibited by the Wyoming Enabling Act, it makes sense that Congress would not have provided for Wyoming to take lands to which the state had "forever disclaim[ed] all right and title.” Id.


. Although the trust status of lands is not dispositive of the diminishment issue, the inclusion of the Boysen provision is further evidence that the opened lands were placed in trust for the benefit of the Tribes. Boysen had previously entered into a mineral lease with the Tribes that included portions of the opened area. The terms of the lease provided it would terminate "in the event of extinguishment ... of the Indian title to the lands covered by” the agreement. As discussed, supra, a minority opposed to the provision argued that there was no need to grant Boysen preferential rights to the opened lands because his existing lease rights would automatically ter-' mínate upon passage of the 1905 Act. But as Representative Marshall, the chairman of the subcommittee that considered the Boysen provision, explained, Indian title would not be extinguished because "these lands are not restored to the public domain, but are simply transferred to the Government of the United States as trustee for these Indians.” 39 Cong. Rec. H1945 (1905) (statement of Rep. Marshall).


. Although I acknowledge that controlling precedent permits courts to consider post-enactment events, I feel compelled to remark on the irrational nature of such an inquiry'. The demographic makeup of an area decades ■ or more following passage of a statute cannot possibly tell us anything about the thinking of a prior Congress. See Philip P. Frickey, A Common Law for Our Age of Colonialism: The Judicial Divestiture of Indian Tribal Authority Over Nonmembers, 109 Yale L.J. 1, 19 (1999) (noting “[t]he conceptual problem with this approach, of course, is that posten-actment developments reveal nothing about *888original congressional intent, much less intent sufficiently clear to satisfy the canon” requiring ambiguous statutes to be construed in favor of tribal interests). The Court itself has apparently recognized the dubiousness of this analysis, referring to "de facto” diminishment as a “necessary expedient.” Solem, 465 U.S. at 471, 472 n.13, 104 S.Ct. 1161.
The third step of the Solem analysis cannot be meaningfully described as a tool to decipher congressional intent. Rather, it is a means of ignoring that intent. Courts should be loath to abandon the proper tools of statutory interpretation in any context, but to do so with respect to Indian law is particularly perverse given our canon of construction that "statutes are to be construed liberally in favor of the Indians.” Confederated Tribes &amp; Bands of Yakima Indian Nation, 502 U.S. at 269, 112 S.Ct. 683 (quotation and alteration omitted).


. I also agree with the majority that this controversy has not been rendered moot and that the Wyoming Farm Bureau has standing. (See Majority Op. 868 n.l.)

